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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

  ABS HEALTHCARE SERVICES, LLC                   CASE NO. 0:21-cv-60859-RKA
  HEALTH OPTION ONE, LLC, and
  ONE STOP QUOTES, INC.

              Plaintiffs,
  v.

  ANDREW SHADER, COREY SHADER,
  NATIONAL HEALTH SOLUTIONS, INC.,
  INFINIX MEDIA LLC, PRODIGY
  HEALTH GROUP LLC, ADAM BEEMAN,
  JOY STORMONT, ALLIANCE MARKETING
  CORPORATION, KRATOS INVESTMENTS LLC,
  HEALTH TEAM ONE LLC, RICHARD RYSCIK
  SCOTT OFFUTT, BEEMAN’S FUTURE INC.,
  CS MARKETING LLC, and C SHADER
  INVESTMENTS LLC,

              Defendants.
  ________________________________________/

           DEFENDANTS’ JOINT MOTION TO TEMPORARILY LIFT STAY
                   AND FOR IMPOSITION OF SANCTIONS
              PURSUANT TO THE COURT’S INHERENT AUTHORITY
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         Defendants jointly move the Court to temporarily lift the stay, and for the imposition of

  sanctions against Plaintiffs and their counsel pursuant to the Court’s inherent authority. As

  discussed below, Plaintiffs, ABS Healthcare Services, LLC (“ABS”) and Health Option One,

  LLC (“HOO”) (collectively, “ICD”), and One Stop Quotes, Inc. (collectively, “Plaintiffs”), their

  principal, Seth Cohen, and their counsel have filed this action vexatiously and in bad faith solely

  to disparage Defendants, abusing the judicial process and forcing Defendants to incur unnecessary

  fees and costs, resulting in reputational harm to Defendants. Figueroa Ruiz v. Alegria, 896 F.2d

  645, 650 (1st Cir. 1990) (“The mere assertion of a RICO claim consequently has an almost

  inevitable stigmatizing effect on those named as defendants. In fairness to innocent parties, courts

  should strive to flush out frivolous RICO allegations at an early stage of the litigation.”).

  Accordingly, this action should be dismissed, with prejudice, and Defendants should be awarded

  their attorneys’ fees and costs incurred in defending against this bad faith action.

  I.     INTRODUCTION

         Plaintiffs filed this action solely for an improper purpose—to thwart competition, and to

  harass and disparage Defendants—with absolutely no intention of having this action proceed past

  even the pleading stage, let alone to trial. Rather, Plaintiffs filed this action with full expectation

  that this Court would either dismiss or stay the action because it is undeniably duplicative of other

  actions that ICD previously filed against Defendants that are currently pending in state court and

  in arbitration proceedings. Significantly, prior to filing this action, ICD without any evidentiary

  basis for doing so, filed ten (10) other lawsuits and at least one arbitration proceeding based on the

  same core of operative facts at issue here. See [ECF. No. 34-1] (Ex. 1 to Joint Consolidated Motion

  to Dismiss, Abstain, Compel Arbitration and/or Stay); [ECF No. 35] (Joint Request for Judicial

  Notice, and accompanying exhibits) (hereinafter, “Related Case Table”). In two of the lawsuits

  that involve, directly or indirectly, all of the Defendants here, the courts specifically held that ICD


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  was obligated to arbitrate all of its claims against ten of the Defendants.1 Remarkably, shortly

  after a Florida appellate court conclusively ruled that ICD must arbitrate all of its claims against

  three of the Defendants here, see Related Case No. 2, Related Case Table, “Miami-Dade Action,”

  ICD filed this action in bad-faith trying to masquerade the same allegations as a civil RICO case.

  They filed this action despite the Florida appellate court ruling that claims based on such

  allegations are arbitrable, despite Eleventh Circuit binding precedent prohibiting improper claim

  splitting, and despite it being well-known that Plaintiffs’ “wielding RICO almost always miss the

  mark.” Moss v. BMO Harris Bank, N.A., 258 F. Supp. 3d 289, 297 (E.D.N.Y. 2017).

         None of this mattered to Plaintiffs. They were perfectly fine with this Court dismissing or

  staying this case, since the Complaint would have already achieved its true objective of tarnishing

  Defendants’ reputations and needlessly driving up Defendants’ litigation costs. Indeed, within a

  day of filing this lawsuit, Law Street Media published an article regarding ICD’s civil RICO

  complaint against Defendants.2 Presumably, this was the very type of press coverage that Plaintiffs

  hoped to generate when they tried to sensationalize alleged misappropriation of trade secret claims

  as “criminal” conduct. Given the timing of the press coverage, it also seems highly likely that

  Plaintiffs and/or their counsel worked directly with Ms. Brauer to ensure that their RICO complaint



  1
    With regard to the other eight (8) lawsuits: courts have compelled Plaintiffs to arbitrate four of
  the lawsuits, see [ECF No. 35-16] to [ECF No. 35-30]; one of the lawsuits is stayed pending
  resolution of a lawsuit that two of ICD’s alleged “agents” filed against ICD in California, see [ECF
  No. 35-10] to [ECF No. 35-15]; ICD has failed to serve the defendants in two of the lawsuits
  despite having filed the actions more than fourteen months ago; see [ECF No. 35-31 to ECF No.
  35-33]; and ICD settled another lawsuit after recognizing that the individual had no business
  relationship with any of the Defendants here and that it was ICD that was wrongfully withholding
  money owed to that individual, see [ECF No. 35-34] and [ECF No. 35-35].
  2
   Notably, the article was written by Emma Brauer, who only a few months before had published
  another article on a lawsuit brought by Plaintiffs’ counsel Boies Schiller Flexner LLP. See
  https://lawstreetmedia.com/health/healthinsurance/blue-cross-blue-shield-antitrust-suit-
  settlement-reached/.


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  would be publicized immediately upon filing.           Additionally, upon information and belief,

  Plaintiffs’ principal, Seth Cohen, has also been informing Defendants’ business associates about

  the RICO complaint and threatening to add such associates as defendants to this action if they did

  not cooperate with Plaintiffs.

          Moreover, shortly after filing this action, Plaintiffs proposed “staying” this case and

  proceeding to arbitration. Remarkably, in response to Defendants’ Motion to Dismiss, Plaintiffs

  go so far as to contend that this Court cannot address the sufficiency of their complaint and must

  immediately ”stay” the proceedings because this Court lacks subject matter jurisdiction over

  Plaintiffs’ claims. See [ECF No. 48]. Of course, that would only leave Plaintiffs’ false allegations

  lingering in the public record, while the evidence showing Plaintiffs’ knowledge of the falsity

  remained hidden from the public records in the private arbitration. Based on Plaintiffs’ conduct,

  it is evident that Plaintiffs filed this instant action in bad faith solely to disparage Defendants.

          Now, as Plaintiffs have already succeeded in their extrajudicial dissemination of false

  accusations, the only means to protect the sanctity of the judicial process and to remedy the harm

  Plaintiffs caused Defendants through their abuse of the judicial process is for this Court to exercise

  its inherent authority to dismiss Plaintiffs’ action with prejudice. Defendants also seek an award

  of their attorneys’ fees and costs incurred in defending against this frivolous, bad faith action.

  II.     RELEVANT FACTUAL BACKGROUND

          ICD publicly refers to itself as “one of the largest health and life insurance agencies in the

  country” and as a “health insurance agency from the South Florida area helping consumers find

  the plan that fits their needs and budget.” See Exhibit A (printouts from ICD’s website,

  insurancecaredirect.com). According to its website, ICD utilizes a network of “70 + Enrollment

  Centers” and “500+ Active Agents” to sell insurance plans. See Id. In its complaint, ICD refers to

  these “enrollment centers” as “insurance agencies that have contracted with ICD,” “call centers,”


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  or “downlines.” See, e.g., Compl. ¶¶ 37, 54. Similarly, ICD refers to the “Active Agents” as

  “ICD’s agents,” “ICD agents”, or “Agents.” See, e.g., Id. ¶ 57, 96, 104, 106.

         In or about April 2020, Plaintiffs, whose own business was declining due to product

  quality, poor agent recruiting strategies, and marketing shortcomings, decided to initiate a flurry

  of baseless lawsuits against a group of emerging competitors—Kratos, HTO, and Prodigy—solely

  to stifle legitimate competition. In order to ensure that the lawsuits would have the maximum

  economic impact on these burgeoning competitors, ICD filed ten (10) separate lawsuits. See

  Related Case Table.

         In each of these ten lawsuits, ICD alleged that Kratos, HTO, Prodigy, along with other

  Defendants in this Action, conspired with “ICD Agents” to misappropriate ICD’s trade secrets and

  to solicit ICD’s “current and prospective customers.” Id. ICD did not identify the “current and

  prospective” customers in any of the complaints. With regard to trade secrets, like in this matter,

  ICD only alleged general categories of trade secrets; ICD did not allege, and in discovery in the

  state court actions did not produce, any actual evidence of misappropriation. Rather, ICD’s entire

  claim appears to be based on pure speculation that the Agents must have taken trade secrets

  because they now allegedly work for a competitor. Worse still, ICD falsely alleged that the Agents

  were still working for ICD as of April 2020, despite ICD’s knowledge that all of the Agents had

  ceased working for the ICD downline agencies long before then. See Stahl Decl. ¶¶ 2-20, Exs. 1-7.

         To add insult to injury, ICD decided to breach its own contractual obligations to make

  certain payments owed to Defendants Andrew Shader, Corey Shader, and NHS—approximately

  $500,000 per month since April 2020, and then used the money owed to those Defendants to fund

  the then (10) frivolous litigations against the burgeoning competitors. To justify these tactics, ICD

  alleges in the state court actions, that the Shaders “funded” Kratos, HTO, and Prodigy to compete




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  with ICD. Even if these allegations were true, which they are not, ICD would still be obligated to

  continue to make the payments to the Shaders and NHS as the contract’s restrictive covenants did

  not prohibit competition. See [ECF No. 34-2] (“Agreement for Payment of Fees, Compensation,

  and Residuals”) (the “NHS Agreement”). Rather the NHS Agreement only precluded the Shaders

  and NHS from trying to solicit ICD’s customers and Agents. See Id. at Section 5; Compl. ¶ 51

          Now, after a series of adverse rulings in the Related Actions requiring ICD to arbitrate their

  claims against these very Defendants, ICD has furthered their crusade against Defendants by filing

  this action, and alleging facts and information Plaintiffs know to be false.3 Plaintiffs now

  (purportedly) seek to litigate the same set of operative facts and issues that are the subject of the

  Parties’ arbitration proceedings, but which ICD has dressed up under the federal RICO statutes.

          Plaintiffs’ bad faith actions and intent in this action are revealed by: (a) the timing of

  Plaintiffs’ filing of the action; (b) Plaintiffs’ efforts to publicize this action and then promptly seek

  to stay the action; and (c) facts and documentation obtained in the Related Actions, which

  demonstrate that Plaintiffs’ claims in this action are either false, or if true, would not support a

  RICO claim.

              a. The Timing of Plaintiffs’ Filing of This Action Reveals Plaintiffs’ Bad Faith.

          ICD initiated the Related Actions identified in the Related Case Table in April 2020.

  Essentially, the gist of ICD’s allegations in the Related Actions is that the defendants, which

  include eight (8) of ICD’s former insurance agents, conspired to unfairly compete with ICD by

  “scheming” to steal ICD’s business and misappropriating its alleged trade secrets. See Related

  Case Table. Central to ICD’s claims in the Related Actions were the purported Agent Agreements


  3
    It is Defendants’ position that ICD knew that such facts and information were false and/or
  frivolous at the time ICD filed the Related Actions. In light of the documents and information
  obtained in discovery in the Related Actions, it is clear that Plaintiffs have presented knowingly
  false allegations in this action.


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  (the “Agent Agreements”) between ICD and the aforementioned Agents. However, those Agent

  Agreements contained mandatory arbitration clauses, which mandated arbitration for any disputes

  under the Agreements.

         In light of the mandatory arbitration clauses, the defendants in the majority of the Related

  Actions, including some of the Agents (James Hardill, Francis DeSola, Alex Geissler and Ryan

  Kelty), as well as the defendants in the Miami-Dade Action and Related Case No. 1 of the Related

  Case Table (“Broward Action”), subsequently moved to compel arbitration pursuant to the Agent

  Agreements. ICD vigorously argued against compelling arbitration in all of the Related Actions.

         After reviewing Messrs. Hardill and DeSola’s motions to compel arbitration and hearing

  the parties’ arguments on the motions, the Broward County Circuit Court granted those motions

  and compelled arbitration in July 2020. See Related Case Nos. 6 & 8, Related Case Table. ICD

  unsuccessfully appealed those rulings to the Fourth District Court of Appeal, which affirmed the

  orders on March 11, 2021. Id.

         After the trial court in the Miami-Dade Action denied the defendants’ motion to compel

  arbitration and/or stay the litigation pending the resolution of the aforementioned arbitrations, the

  Third District Court of Appeal reversed and remanded the case back with instructions to grant the

  motion to compel arbitration. Kratos Investments, LLC et al. v. ABS Healthcare Services, LLC, et

  al., --- So. 3d ---, 2021 WL1009277, *3 (Fla. 3d DCA Mar. 17, 2021).

         In November 2020, the Broward County Circuit Court in the Broward Action stayed that

  case pending the aforementioned rulings from the Fourth District Court of Appeal. After the

  Fourth District affirmed the orders compelling arbitration in the two Agent cases, the court in the

  Broward Action held a hearing on the defendants’ motion to compel arbitration on April 12, 2021.

  Although the court did not issue a ruling then, it was clear that the court gave significant deference




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  to the Third District Court of Appeal’s ruling compelling arbitration in the Miami-Dade Action,

  and that the court was likely to compel arbitration in the Broward Action. See Exhibit B (Apr. 12,

  2021 Trans.), at 50:17-22 (“I think this Kratos case, many of the things that are referenced in here,

  are important to my decision in this case. I can’t see how I could just ignore their holding because

  so much of this seems to be interdependent upon the other.”). The court in the Broward Action

  subsequently granted the defendants’ motion and compelled arbitration. ABS Healthcare Services,

  LLC v. Shader, 2021 WL 2115257 (Fla.Cir.Ct. May 4, 2021).

          The courts’ rulings in the Miami-Dade and Broward Actions effectively frustrated ICD’s

  purpose for the Related Actions. ICD could no longer hide behind the litigation privilege while

  publicly making disparaging statements about the Defendants. Additionally, without an active

  court case against the Defendants, ICD could no longer seek broad, unfettered discovery from the

  Defendants and third parties that ICD sought in the Related Actions.

          As a result, on April 21, 2021, soon after the Third District Court of Appeal’s ruling

  compelling arbitration in the Miami-Dade Action, and almost immediately after the April 12

  hearing in the Broward Action, Plaintiffs filed the instant Action. Plaintiffs brought the instant

  Action even though the Complaint essentially constitutes a repackaging of ICD’s claims from the

  Related Actions (now under the guise that they are “RICO” claims), and despite ICD having been

  ordered to arbitrate claims involving the same set of operative facts with 10 of the 15 Defendants

  in the instant action.4




  4
   ICD is currently engaged in arbitration with the following Defendants: Andrew Shader, Corey
  Shader, National Health Solutions, Inc. (“NHS”), Prodigy Health Group, LLC (“Prodigy”), Adam
  Beeman, Joy Stormont, Alliance Marketing Corporation, Kratos Investments LLC (“Kratos”),
  Health Team One LLC (”HTO), and Richard Ryscik. See Related Case Nos. 1 & 2, Related Case
  Table; Exhibit E (for newly filed arbitration).


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             b. Plaintiffs’ Efforts to Publicize This Action and Then Promptly Seek to Stay the
                Action Reveal Bad Faith Conduct.

         With this action, Plaintiffs sought once again to use the litigation privilege as a weapon

  enabling Plaintiffs to publicly disparage the Defendants, branding the Defendants as “criminal[s],”

  and once again painting Defendants in a negative light.5 On April 23, 2021, immediately after

  Plaintiffs filed the instant Action, LawStreetMedia.com published a news “article” entitled

  “Florida Health Insurer Alleges Former Employees Orchestrated Racketeering Scheme to Steal

  Trade Secrets” (the “LawStreet Press Release”). See Exhibit C. However, the LawStreet Press

  Release does not appear to be a typical news article reporting on new court filings. Instead, it

  clearly reads as a press release that ICD subsequently transmitted to third parties and others within

  the industry to further disparage the Defendants. See, e.g., id. (“The plaintiffs summarized their

  allegations astutely at the top of their complaint”; quoting portion of the complaint stating that ICD

  “had achieved great success . . . from ICD’s years of hard work, development, and ingenuity.”).

         Plaintiffs recent position in the instant action further reveals their bad faith intentions. As

  mentioned above, prior to the filing of the Defendants’ Motion to Dismiss, ICD vigorously resisted

  Defendants’ efforts to compel arbitration in the Related Actions. However, on June 11, 2021,

  despite no change in circumstances since the initiation of this action, Plaintiffs sought to “move

  the RICO action to AAA arbitration…[and] stipulate[e] to the entry of an order that stays the case

  pending resolution of the arbitration.” See Exhibit D. Essentially, now that Plaintiffs have once

  again disparaged Defendants through a public filing, Plaintiffs are willing to transfer this Action



  5
    Plaintiffs repeatedly claim in their Complaint – without any reason or purpose other than to
  disparage – that Beeman is a convicted felon. Such a claim has no relevance to this dispute.
  Plaintiffs also shamelessly and deplorably allege – once again without any reason or purpose other
  than to disparage – that Defendants are responsible for Christopher Mason’s drug addiction,
  overdose and ultimately his death. See Compl., ¶¶ 6, 109. It appears that the depths of Plaintiffs
  and Plaintiffs’ counsel’s depravity knows no bounds.

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   to arbitration. Plaintiffs’ position becomes even more absurd considering that on July 11, 2021,

   ICD filed a new arbitration against Andrew Shader, Corey Shader, NHS, Infinix, Prodigy, Adam

   Beeman, Joy Stormont, and Alliance Marketing Corporation, eight of the 15 Defendants in the

   RICO suit. Tellingly, ICD does not seek to arbitrate the RICO Claims. See Exhibit E. These

   contradictory positions reveal the gamesmanship of ICD, and its malicious use of litigation.

   Accordingly, Plaintiffs have filed this Action in bad faith, and as such, sanctions, including but not

   limited to the dismissal of this Action and the imposition of attorneys’ fees, are appropriate.

               c. The Facts and Information Alleged in this Action are False, Were Disproved in
                  the Related Actions and/or are Subject to Arbitration, Further Revealing
                  Plaintiffs’ Bad Faith.

            Plaintiffs made the same claims of misappropriation in bad faith in the 10 lawsuits that they

   filed more than a year ago in April 2020. See Related Case Table. Based on discovery that occurred

   in the Miami-Dade Action, it is clear that Plaintiffs cannot show that Defendants have “used,” let

   alone misappropriated, any of Plaintiffs’ alleged trade secrets. Plaintiffs also have proffered no

   evidence of any “trade secrets.” See Stahl Decl, ¶¶ 21-34, Exs. 8-10.

            As to alleged misappropriation, Plaintiffs’ entire claim is based on an assumption that

   anyone who is previously affiliated with ICD will inevitably use Plaintiffs’ “trade secrets,” if they

   later compete with Plaintiffs. Such an assumption alone is insufficient to make a claim of

   misappropriation plausible. And it is certainly not sufficient to constitute probable cause sufficient

   to support that a defendant’s conduct constitutes criminal theft of trade secrets under 18 U.S.C.

   §1832.

            Furthermore, Plaintiffs appear to claim that they were “defraud[ed]” by Defendants, which

   led to further misappropriation of their trade secrets, because “Corey and Andrew Shader falsely

   represented…that they were no longer going to be in the business of selling insurance.” See Compl.

   ¶¶ 170-171. That claim is contradicted by the very agreement referenced in ICD’s Complaint and


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   by email correspondence between Seth Cohen and Corey Shader. See Compl. ¶¶ 51-54; [ECF No.

   34-2] (NHS Agreement).6 Furthermore, Plaintiffs themselves allege in paragraph 54 of their

   Complaint that “as a result of [an email] amendment, the Shaders and NHS were permitted to

   market other insurance plans[.]” Compl. ¶54 (emphasis added). Finally, in a January 22, 2019

   email, Corey Shader explicitly told Seth Cohen (one of ICD’s principals and CEO), that Corey

   Shader was “affiliated” with downline agencies, and that he intended on continuing those

   affiliations. See Exhibit F. In the same e-mail, Corey Shader made it clear that if Cohen had a

   problem with Shader’s intentions, Shader would revoke his signature on the NHS Agreement

   before Cohen countersigned. Id. Seth Cohen responded to Corey Shader’s email, confirming that

   such affiliations would not be a problem. Id. In other words, Plaintiffs cannot even keep their own

   false allegations straight.

           Plaintiffs have also failed to identify a single trade secret. For example, when pressed to

   identify with particularity the “marketing process” that Plaintiffs allege to be the “trade secret”

   that Defendants misappropriated, Plaintiffs “identified” a simple prequalification script containing

   approximately ten questions asked by call center employees to “prequalify” individuals. See Stahl

   Decl., ¶ 24. These questions (which are too simple and obvious to have any economic value) are

   generally known. The bigger problem with Plaintiffs’ claim, however, is that this is a script read

   over the phone to members of the public who are under no obligation to maintain secrecy. See id.

   Potential customers are not asked to agree to confidentiality, nor are they even told that such

   questions are confidential. If a competitor wanted this information, they could easily obtain it by




   6
     At the time the Shaders, NHS, and ICD entered into the NHS Agreement, Andrew Shader
   intended to step away from the insurance business for a while, but not Corey Shader. ICD was
   well aware of this distinction, as this is the reason that the $12 override for all “new” sales made
   after the execution of the NHS Agreement were to be paid solely to Corey Shader.


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   entering their contact information into one of ICD’s various lead sites and waiting for an ICD

   Agent to call and ask those exact questions.7 See id.

          Similarly, when asked to identify with particularity the “customer names and information”

   that Plaintiffs were claiming to be the trade secret at issue, Plaintiffs initially produced a “list”

   containing more than ½ million names, but no addresses, emails, phone numbers, or any other

   identifying information. See Stahl Decl, ¶ 25. Plaintiffs subsequently produced another list, but

   it still did not include any phone numbers or e-mail addresses. See id., ¶ 27. Such an omission is

   significant considering that Kratos, Health Team one, and Prodigy sell insurance via call centers,

   and a list without any phone numbers has no economic value to them.8

          Additionally, with respect to ICD’s purported “business model,” of selling an association

   membership along with a limited benefit health insurance plan, such a model cannot be a trade

   secret, as ICD publicly disclosed the aspects of their business model in litigation at least as early

   as 2014. See Riley v. Unified Caring Ass’n, 2014 WL 7335029, at *3 (D. Wy. 2014). Therefore,

   since ICD’s business model has been publicly known since at least 2014, another’s use of such a

   model subsequent to that time cannot be alleged to support an allegation of a trade secret.



   7
    Additionally, there is no evidence that Defendants are even using the same prequalification script
   as Plaintiffs.
   8
     Moreover, when Plaintiffs filed the instant action, Plaintiffs’ counsel knew the allegations that
   Defendants “stole” Plaintiffs’ “customer base” were patently false. In the Miami-Dade Action,
   the defendants were also required to produce their own customer list. Kratos produced a list of
   ~54,000 customers. When evaluating the overlap of customers between Kratos’ customer list and
   Plaintiffs’ customer list, the amount of crossover—the number of individuals on both company’s
   customer lists—is negligible. In fact, less than 0.4% of Plaintiffs’ “customers” also did business
   at some point in time with a Kratos affiliate. See Stahl Decl., ¶ 29-31. This paltry number cannot
   amount to the alleged “tens of millions of dollars” in lost business due to any purported
   misappropriation or theft of trade secrets, as ICD alleges in this Action. Compl. ¶196. Additionally,
   a careful analysis of this “crossover” shows about the same number of customers switching from
   ICD to Kratos as those switching from Kratos to ICD, which in turn suggests ordinary competition
   and nothing more. See Stahl Decl., ¶ 31.


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          Finally, Plaintiffs’ knew their misappropriation claims were subject to arbitration, and yet

   they still filed the instant Action based on these claims, seeking to convert the assertions into

   criminal trade secret theft. But, ICD has alleged essentially the same exact claims in this action

   that it asserted in the Related Actions.9 As is reflected by the allegations in these complaints, and

   the court papers of the Miami-Dade and Broward Actions, ICD’s allegations clearly arise from the

   same set of operative facts that are at issue in the ongoing arbitrations. The RICO allegations–

   irrespective of their deficiencies and plausibility—should have, and could have, only been raised

   in arbitration. Ultimately, however, ICD knows that its trade secret claims are without merit.

   III.   ARGUMENT

          Based on the foregoing information, Plaintiffs have brought this action unnecessarily and

   in bad faith, and as such, this Court should impose sanctions. Defendants seek dismissal of this

   action, with prejudice, as well as payment of Defendants’ costs and fees in defending this litigation.

              a. This Court May Impose Sanctions Pursuant to Its Inherent Authority.

          The Court has inherent authority to impose sanctions on a party or its counsel for conduct

   amounting to bad faith. See Barnes v. Dalton, 158 F.3d 1212, 1213-14 (11th Cir. 1998). The

   inherent power “is both broader and narrower than other means of imposing sanctions.” Peer v.



   9
     Compare Compl. ¶ 1 (“Defendants devised a criminal scheme to misappropriate, among other
   things, ICD’s confidential information, trade secrets, customers, and business through a pattern of
   racketeering activity”); Compl. ¶ 3 (“The purpose of the…Enterprise…was to surreptitiously and
   illicitly compete with ICD and steal ICD’s proprietary trade information, trade secrets, business
   model, agents, and customer base”) with Miami-Dade Action, Compl. ¶ 23 (“Working in concert,
   the Defendants [Kratos, Health Team One, Richard Ryscik, et al.]…have conspired with others,
   including Andrew Shader, Corey Shader,…[NHS], and exclusive licensed agents of ICD…to steal
   ICD’s business by…setting up sham, competing entities, . . . illicitly soliciting ICD’s customers
   and prospective customers, and misappropriating ICD’s confidential information and trade
   secrets.”) and Broward Action Compl. ¶ 27 (“These Defendants [Andrew Shader, Corey Shader,
   NHS, Infinix, Prodigy, Beeman, Stormont, and Alliance] used Prodigy and Infinix
   surreptitiously…to illicitly compete with ICD and steal ICD’s proprietary trade secrets, business
   model, agents and customer base.”).


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   Lewis, 606 F.3d 1306, 1314 (11th Cir. 2010) (quoting Chambers v. NASCO, Inc., 501 U.S. 32, 46

   (1991)). “While the other sanction mechanisms only reach certain individuals or conduct, ‘the

   inherent power extends to a full range of litigation abuses” and “must continue to exist to fill in

   the interstices.’” Id. The inherent power of a court “‘can be invoked even if procedural rules exist

   which sanction the same conduct,’ for these rules are not substitutes for the inherent power.” Id.

   (quoting Glatter v. Mroz (In re Mroz), 65 F.3d 1567, 1575 (11th Cir. 1995)). In egregious

   circumstances like this, dismissal with prejudice is warranted. Obukwelu v. Board of Trustees

   Florida State University, 837 F. App’x 686, 687 (11th Cir. 2020) (dismissing civil claim where

   plaintiff willfully made false representations in litigation); Zocaras v. Castro, 465 F.3d 479, 485

   (11th Cir. 2006) (dismissing civil action entirely; finding lesser sanctions not effective because the

   plaintiff’s misconduct harmed the defendants and undermined the integrity of the judicial system).

   See also Byrne v. Nezhat, 261 F.3d 1075, 1106 (11th Cir. 2001) (a court may also impose an

   attorney’s fee sanction against the attorney and the client).

          Sanctions premised upon the court’s inherent power are appropriate upon a finding of

   recklessness or subjective bad faith. See Barnes, 158 F.3d at 1213-14. A finding of bad faith is

   warranted when a party or his attorney knowingly or recklessly raises a frivolous argument, or

   where a party pursues a claim without reasonable inquiry into the underlying facts. See Id.; see

   also Purchasing Power, LLC v. Bluestem Brands, Inc., 851 F.3d 1218, 1223 (11th Cir. 2017)

   (explaining that, in the absence of direct evidence of subjective bad faith, the standard can also be

   met if the party’s conduct is “so egregious that it could only be committed in bad faith”). Sanctions

   are warranted in situations where, as here, a party pursues frivolous claims, vexatiously multiplies

   the proceedings, inflicts unnecessary defense costs, and needlessly delays the resolution of the

   claims. See Miccosukee Tribe of Indians of Fla. v. Cypress, 686 F. App'x 823, 827 (11th Cir. 2017)




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   (in a case asserting RICO violations, awarding sanctions after dismissal of pleadings, where the

   plaintiff “knew or should have known that his allegations…were patently frivolous when there

   was no evidence…and [plaintiff] possessed ample information that flatly contradicted his theories

   of wrongdoing. Because [plaintiff] filed a complaint…in bad faith, the district court acted within

   its authority to sanction ‘conduct which it found abused the judicial process.’”) (internal brackets

   omitted); see also Collar v. Abalux, Inc., 806 Fed. App’x 860, 863 (11th Cir. 2020); Thabico Co.

   v. Kiewit Offshore Servs., Ltd., 2:16-CV-427, 2017 WL 3387185, at *4 (S.D. Tex. Aug. 7, 2017).

              b. Plaintiffs’ RICO Claims Were Brought in Bad Faith and Constitute an Abuse of
                 the Judicial Process.

                      i. Plaintiffs Have Abused the Judicial Process by Meritlessly and Vexatiously
                         Asserting the RICO Claims to Disparage Defendants Publicly.

          Sanctions are appropriate for “conduct which abuses the judicial process” and the Court

   has the inherent power to dismiss a lawsuit and impose attorneys’ fees when a party files a lawsuit

   “in bad faith, vexatiously, wantonly, or for oppressive reasons.” Gov't Emps. Ins. Co. v. Nealey,

   262 F. Supp. 3d 153, 171 (E.D. Pa. 2017); Chambers v. NASCO, Inc., 501 U.S. 32, 46 (1991). As

   in Chambers, Plaintiffs “entire course of conduct throughout the lawsuit evidence[s] bad faith and

   an attempt to perpetrate a fraud on the court,” particularly when evaluated in connection with the

   Related Actions and the ongoing arbitrations. Indeed, “the claims asserted here are merely

   evidence of a larger choreographed strategy by [Plaintiffs] and [their] attorneys designed to

   constitute a counterattack against” the slew of adverse rulings requiring ICD to arbitrate these very

   claims. Gov't Emps. Ins. Co. v. Nealey, 262 F. Supp. 3d 153, 171 (E.D. Pa. 2017).

          As detailed supra, ICD has asserted in this action that Defendants have engaged in a

   scheme and “conspired with others, including exclusive licensed agents of ICD, to steal ICD’s

   business by…setting up sham, competing entities, interfering with the ICD Exclusive Agent

   Agreements, illicitly soliciting ICD’s customers and prospective customers, and misappropriating


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   ICD’s confidential information and trade secrets.” See Compl. ¶ 58. However, both the trial court

   in the Broward Action and the Third District Court of Appeal in the Miami-Dade Action have

   already compelled ICD to arbitrate these claims.10 See ABS Healthcare Services, LLC v. Shader,

   2021 WL 2115257, at *4 (Fla.Cir.Ct. May 04, 2021); Kratos Investments LLC v. ABS Healthcare

   Services, LLC, ---So. 3d ---, 2021 WL 1009277, *3 (Fla. 3d DCA March. 17, 2021).

            The court in the Broward Action highlighted the following allegations within ICD’s

   complaint in that action as the basis for its ruling:

           “In the Complaint, ICD specifically alleges that ICD’s agreements with the agents
            contain non-compete and confidential information provisions and that Defendants ‘have
            conspired’ with the Agents.”

           “ICD also alleges that ‘Defendants (in concert with the Agents) have engaged in a
            scheme by which they solicit customers for Plans offered by agencies other than ICD.”

           “ICD further alleges that Defendants ‘induc[ed] or otherwise caus[ed] the Agents to
            breach’ the Agent Agreements.”

           “‘As a result of Defendants’ actions, the Agents breached’ the Agent Agreements.”

   ABS Healthcare Services, LLC, 2021 WL 2115257 at *3 (citing Compl. ¶¶ 24, 38, 52, 54).

            Notwithstanding the aforementioned rulings, Plaintiffs have alleged the same conclusory

   allegations here, based on the same set of operative facts and interdependent conduct. In fact,

   Plaintiffs simply mimicked their allegations from the Related Actions in their Complaint in the

   instant action.11 Plaintiffs reference the same former ICD Agents (whose Agent Agreements,


   10
      See ABS Healthcare Services, LLC, 2021 WL 2115257, at *3 (“After careful review of the
   allegations contained in the Complaint, the Court finds the claims against Defendants are arbitrable
   as they are intertwined with the Agent Agreements.”); Kratos Investments LLC, 2021 WL
   1009277, *2 (“The claims against appellants and the agents are based on the same set of operative
   facts and unquestionably premised upon substantially interdependent and concerted misconduct
   between the non-signatories and signatories to the Agent Agreements.”).
   11
     See, e.g., Compl. ¶ 60 (“Defendants have engaged in a scheme by which they solicit customers
   for Plans offered by agencies other than ICD. In this way, Defendants are improperly soliciting
   ICD’s actual and prospective customers and illegally competing with ICD.”), id. ¶ 179


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   containing the mandatory arbitration provisions, resulted in the aforementioned arbitrations) no

   less than twenty-five (25) times throughout the Complaint, as well as reference said Agent

   Agreements (including interfering with and/or breaching those Agent Agreements) at least a half-

   dozen times throughout the Complaint. See generally Compl.

          There is no legitimate purpose for ICD to now assert these same claims in this forum, and

   “[t]hese tactics have undoubtedly wasted this Court’s judicial resources….[and] undoubtedly had

   a negative impact on the” Defendants and their ability to focus on the ongoing arbitrations. Gov't

   Emps. Ins. Co., 262 F. Supp. 3d at 171. “This is the exact type of case where a response to abusive

   litigation practices is warranted.” Id. (internal quotations and citation omitted). As such, this

   action should be dismissed, with prejudice, as there are no “alternative sanctions…[that] would

   remedy the harm here….[t]he harm here to defendants is the burden of having to defend against

   the lawsuit itself…with deadlines and obligations to meet in [their] pending” arbitrations. Id.

                      ii. Plaintiffs’ RICO Claims are Frivolous as They Are Based on Information
                          ICD Knows to be False and/or Inaccurate, Revealing Plaintiffs’ Bad Faith.

          “A party acts in bad faith when he knowingly or recklessly raises a frivolous argument, or

   argues a meritorious claim for the purpose of harassing an opponent.” Hayden v. Vance, 708 F.

   App'x 976, 978 (11th Cir. 2017) (quoting Barnes, 158 F.3d at 1214 (internal quotations omitted);

   see also Miccosukee Tribe of Indians of Fla. v. Cypress, 686 F. App'x 823, 827 (11th Cir. 2017)

   (holding that the plaintiff “knew or should have known that his allegations against [defendant]

   were patently frivolous when there was no evidence of kickbacks or fraudulent loans and [plaintiff]

   possessed ample information that flatly contradicted his theories of wrongdoing.”).



   (“Throughout 2018 and 2019 to the present…[Defendants’] illicit competition with ICD, and
   [their] endeavor to steal ICD’s trade secrets, business model, agents, and customer base by
   engaging in the practice of using leads to coerce ICD’s agents to breach their contractual
   obligations to ICD.”).


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          As detailed above, Plaintiffs were aware at the time of the filing of this Action that ICD

   could not produce any documentation or evidence of a single trade secret. ICD had previously

   publicly disclosed facts and information it purports to be confidential and/or alleged trade secrets.12

   For example, ICD’s “business model” was publically disclosed in the case of Riley v. Unified

   Caring Ass’n, 2014 WL 7335029 (D. Wy. 2014). “Given that the alleged ‘trade secrets’ in this

   case have been publicly available in a written judicial opinion for months is further evidence of

   [Plaintiffs’] unreasonableness, obstructionism, and abuse.” Gov't Emps. Ins. Co., 262 F. Supp. 3d

   at 171. ICD also repeatedly disclosed purportedly confidential and/or trade secret “call scripts”

   that its call-center agents read to anyone that expressed an interest in obtaining insurance through

   ICD, without any indication that said script was confidential or a trade secret. See 18 U.S.C.

   § 1839(3) (Information is a trade secret if the owner “has taken reasonable measures to keep such

   information secret[.]”). Moreover, any asserted customer lists fail to constitute trade secrets where

   Defendants have derived no economic value from them. Id. (“[T]he information [must] derive[]

   independent economic value, actual or potential, from not being generally known to, and not being

   readily ascertainable through proper means by, another person who can obtain economic value

   from the disclosure or use of the information.”).

          Nor has ICD produced any evidence that any of the Defendants, or any of the former ICD

   agents, improperly accessed, obtained or disclosed any of ICD’s alleged trade secrets. And their

   theory that the Defendants must have stolen ICD’s trade secrets because they once worked for or

   were affiliated with ICD, and now work for or as competitors, false as a matter of law. Even use



   12
     “As explained by the U.S. Supreme Court, once “an individual discloses his trade secret to others
   who are under no obligation to protect the confidentiality of the information, or otherwise publicly
   discloses the secret, his property right is extinguished.” Gov't Emps. Ins. Co. v. Nealey, 262 F.
   Supp. 3d 153, 171 (E.D. Pa. 2017) (quoting Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1002,
   104 S.Ct. 2862, 81 L.Ed.2d 815 (1984) (internal quotations omitted).


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   of a trade secret, that may support a civil misappropriation claim, does not constitute criminal theft

   of trade secrets. See ESPOT, Inc. v. MyVue Media, LLC, 492 F. Supp. 3d 672, 695 (E.D. Tex.

   2020) (dismissing civil RICO claims; plaintiff could not support predicate act of theft of trade

   secret with allegations of misappropriation alone). Additionally, Plaintiffs’ claims that the Shaders

   “defraud[ed]” ICD by claiming that they would be leaving the insurance industry, is also

   contradicted by the pleadings in this case, the NHS Agreement, and surrounding circumstances.

   This includes, but is not limited to the numerous payments by ICD to Corey Shader individually

   and the January 22, 2019 email exchange between Corey Shader and Seth Cohen.

           “Congress enacted RICO to target long-term criminal activity, not as a means of resolving

   routine commercial disputes.” Kaye v. D’Amato, 357 Fed. Appx. 706, 717 (7th Cir. 2009).13 As

   one federal court observed:

               [A]lthough civil RICO may be a “potent weapon,” plaintiffs wielding RICO
               almost always miss the mark. See Gross v. Waywell, 628 F.Supp.2d 475,
               479–83 (S.D.N.Y. 2009) (conducting survey of 145 civil RICO cases filed
               in the Southern District of New York from 2004 through 2007, and finding
               that all thirty-six cases resolved on the merits resulted in judgments against
               the plaintiffs, mostly at the motion to dismiss stage). Accordingly, courts
               have expressed skepticism toward civil RICO claims.

   Moss, 258 F. Supp. 3d at 297 (citations omitted).14

   13
     Civil RICO is considered an “unusually potent weapon,” often referred to as the “litigation
   equivalent of a thermonuclear device.” Malvar Egerique v. Chowaiki, 19 CIV. 3110 (KPF), 2020
   WL 1974228, at *27 (S.D.N.Y. Apr. 24, 2020) (citations omitted).
   14
      See also Oceanside Lauderdale, Inc. v. Ocean 4660, LLC, No. 2010 WL 2044893, at *1 (S.D.
   Fla. May 24, 2010) (dismissing action; “‘RICO is not a proper vehicle for levering a breach of
   contract suit between citizens of the same state into federal court, and under a statute that entitles
   a successful plaintiff to treble damages and attorneys' fees.” . . . Here, ‘civil RICO plaintiffs persist
   in trying to fit a square peg in a round hole by squeezing garden-variety business disputes into civil
   RICO actions.’”) (citing Carr v. Tillery, 591 F.3d 909, 918 (7th Cir. 2010) and Midwest Grinding
   Co., Inc. v. Spitz, 976 F.2d 1016, 1025 (7th Cir. 1992)); Robert Suris General Contractor Corp. v.
   New Metropolitan Federal Sav. & Loan Ass'n, 873 F.2d 1401, 1404 (11th Cir.1989) (affirming
   dismissal of RICO action where plaintiff had attempted to take “a simple breach of contract or
   garden variety fraud claim and attempted to boot-strap it into a ‘federal case’ by couching the
   allegations in RICO statutory language”).


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          Despite Plaintiffs’ attempts to portray this action as a “criminal scheme,” this is, at best, a

   commercial dispute among competitors. Hence the reason why the Parties are currently engaged

   in numerous ongoing arbitrations over the same disputes before the American Arbitration

   Association and pursuant to the Commercial Arbitration Rules. See Related Case Chart. Plaintiffs’

   attempts to portray this dispute as something different simply highlights their “unreasonableness,

   obstructionism, and abuse.” Gov't Emps. Ins. Co., 262 F. Supp. 3d at 171.15

   IV.    CONCLUSION

          Based on the foregoing, Defendants requests that this Court temporarily lift the stay for

   purposes of considering this Motion, dismiss this action with prejudice and hold Plaintiffs and

   their counsel jointly and severally liable for Defendants’ reasonable legal fees and costs incurred

   in preparing this Motion and defending against Plaintiffs’ claims.




   15
      Indeed, one only needs to review Plaintiffs’ allegations of “bribery” in the Complaint to
   recognize Plaintiffs’ bad faith, unreasonableness and abuse of the judicial process. See Compl.
   ¶¶ 186-88. First, the entirety of this “bribery” claim (which Plaintiffs attempt to use as one of their
   alleged predicate acts) is based solely on the former ICD Agents’ breach of the contractual duties
   to ICD, which once again, is subject to the mandatory arbitration provisions of those Agreements
   and subject to the Parties’ ongoing arbitrations. Moreover, the allegations of commercial bribery
   are nothing more than a baseless attempt to criminalize assertions of garden-variety commercial
   interference.


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   Respectfully submitted,

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